(Rev. 04/2020) Waiver of a Preliminary Hearing

UNITED STATES DISTRICT COURT

for the
Western District of North Carolina

United States of America
Vi

PAUL CORBI
Defendant

Case No. 1:14-CR-90

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WAIVER OF PRELIMINARY HEARING
I understand and acknowledge:

1. That I have been charged a) with one or more offenses in a Criminal Complaint OR b) with
violating the terms and conditions of probation or supervised release.

2. That I have a right to a preliminary hearing under Fed. R. Crim. P. 5, or to a preliminary
hearing under Fed. R. Crim. P. 32.1, to determine whether there is probable cause to support
the allegations against me.

3. That at a preliminary hearing, I would have the right to be represented by counsel, hear and
confront the Government’s evidence, and present my own evidence.

4. That if 1 waive my right to a preliminary hearing, such a hearing will not be held and the Court
will find that there is probable cause to support the allegations against me.

5. That I have read this waiver form, or had it read to or translated for me, and that I understand
it.

I have discussed these issues with my attorney and I now wish to:

=a Waive my right to a preliminary hearing.

Waive my right to a preliminary hearing AND waive my right to be present in court

when this waiver is presented.
Date: vl [| /
| Defendant's signature

Date: /s[rery gg JOO pO

Attorney's signature

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